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EXHIBIT E

PUBLICATION NOTICE

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Tribune Company KPLR, Inc. Towering T Music Publishing Company
435 Production Company KSWB Inc. Tribune Broadcast Holdings, Inc.
5800 Sunset Productions Inc. KTLA Ine, Tribune Broadcasting Company
Baltimore Newspaper Networks, Inc. KWGN Ine. Tribune Broadcasting Holdco, LLC

California Community News Corporation
Candle Holdings Corporation

Channel 20, Inc.

Channel 39, Inc.

Channel 40, Inc.

Chicago Avenue Construction Company
Chicago River Production Company
Chicago Tribune Company

Chicago Tribune Newspapers, Inc.
Chicago Tribune Press Service, Inc.
ChicagoLand Microwave Licensee, inc.
Chicagoland Publishing Company
Chicagoland Television News, Inc.
Courant Specialty Products, Inc.

Direct Mail Associates, Inc.
Distribution Systems of America, Inc.
Eagle New Media Investments, LLC
Eagle Publishing Investments, LLC
forsalebyowner.com corp.
ForSaleByOwner.com Referral Services, LLC
Fortify Holdings Corporation

Forurn Publishing Group, Inc.

Gold Coast Publications, Inc

GreenCo, Inc,

Heart & Crown Advertising, Inc
Homeowners Realty, Inc

Homestead Publishing Co.

Hoy, LLC

Hoy Publications, LLC

InsertCo, Inc.

Internet Foreclosure Service, Inc.
JuliusAir Company, LLC

JuliusAir Company 1, LLC;

KIAH Inc,

Los Angeles Times Communications LLC
Los Angeles Times International, Ltd.

Los Angeles Times Newspapers, Inc.

Magic T Music Publishing Company

NBBF, LLC

Neocornm, Inc.

New Mass. Media, Inc.

Newscom Services, Inc.

Newspaper Readers Agency, Inc.

North Michigan Production Company

North Orange Avenue Properties, Inc.

Oak Brook Productions, Inc,

Orlando Sentine! Communications Company
Patuxent Publishing Company

Publishers Forest Products Co. of Washington
Sentinel Communications News Ventures, Inc.
Shepard's Inc.

Signs of Distinction, Inc.

Southern Connecticut Newspapers, Inc.

Star Community Publishing Group, LLC
Stemweb, Inc.

Sun-Sentinel Company

The Baltimore Sun Company

The Daity Press, Inc.

The Hartford Courant Company

The Morning Call, Inc.

The Other Company LLC

Times Mirror Land and Timber Company
Times Mirror Payroll Processing Company, Inc.
Times Mirror Services Company, Inc.
TMLH 2, Inc.

TMLS |, Inc.

TMS Entertainment Guides, Inc,

Tower Distribution Company

Tribune Broadcasting News Network, Inc., n/k/a
Tribune Washington Bureau Inc.

Tribune Califomia Properties, Inc.

Tribune CNLBC, LLC f/k/a Chicago National
League Ball Club, LLC

Tribune Direct Marketing, Inc.

Tribune Entertainment Company

Tribune Entertainment Production Company
Tribune Finance, LLC

Tribune Finance Service Center, Inc.

Tribune License, Inc.

Tribune Los Angeles, Inc.

Tribune Manhattan Newspaper Holdings, Inc.
Tribune Media Net, Inc.

Tribune Media Services, Inc.

Tribune Network Holdings Company
Tribune New York Newspaper Holdings, LLC
Tribune NM, Inc.

Tribune Publishing Company

Tribune Television Company

Tribune Television Holdings, Inc.

Tribune Television New Orleans, Inc.
Tribune Television Northwest, Inc.

ValuMail, Inc.

Virginia Community Shoppers, LLC

Virginia Gazette Companies, LLC

WATL, LLC

WCWN LLC

WDCW Broadcasting, Inc.

WGN Continental Broadcasting Company
WLVI Inc.

WPIX, Inc.

WCCT, Inc., ffk/a WTXX Inc.

NOTICE OF HEARING TO CONSIDER CONFIRMATION OF PLANS OF REORGANIZATION
FOR TRIBUNE COMPANY AND ITS SUBSIDIARIES AND VOTING AND OBJECTION

DEADLINES RELATING TO THE PLANS

PLEASE TAKE NOTICE THAT four (4) plans of reorganization (the “Plans”) have been proposed for Tribune
Company and certain of its subsidiaries (collectively, the “Debtors”) in the above-referenced chapter 11 cases.
PLEASE TAKE FURTHER NOTICE THAT in connection with the Plans, the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) has approved (i) a General Disclosure Statement providing
background information about the Debtors’ businesses, history, operations, and chapter 1] cases, and (ii) Specific
Disclosure Statements relating to each of the Plans, which provide information concerning those plans and their
proposals to reorganize the Debtors’ business and treat claims against the Debtors under chapter 11 of the title 11 of
the United States Code (the “Bankruptcy Code”). The General Disclosure Statement and the Specific Disclosure
Statements were approved by the Bankruptcy Court as part of the order governing the solicitation of votes on the
Plans dated December 9, 2010 (the “Solicitation Order”). Capitalized terms not otherwise defined in this Notice
have the meanings given to them in the Solicitation Order.
PLEASE TAKE FURTHER NOTICE THAT:

1. Votes to accept or reject the Plans must be received by the Voting Agent by January 28, 2010 at 4:00 p.m.
Eastern Time. Objections to the Plans must comply with the Solicitation Order and be filed by 4:00 p.m. Eastern
Time on February 15, 2011. A hearing to consider confirmation of the Plans will be held on March 7, 2011 at
10:00 a.m. Eastern Time, at the United States Bankruptcy Court for the District of Delaware, 824 North Market
Street, Fifth Floor, Courtroom No. 5, Wilmington, Delaware 19801. That hearing may be continued from time to

time without further notice.
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2, Each of the Plans also constitutes a Prepackaged Pian of Reorganization (the “Prepackaged Plans”) for any
affiliates of Tribune Company that may commence a chapter 1] case prior to the date of the Confirmation Hearing.
Those affiliates include, without limitation, the following entities that have executed guarantees of certain
indebtedness of Tribune Company but have not yet commenced chapter 11 cases: (i) Tribune National Marketing
Company, (ii) Tribune ND, Inc., (iii) Tribune Interactive, Inc., and (iv) Tribune (FN) Cable Ventures, Inc. In the
event any of such affiliates commences a chapter 11 case, additional notice and information will be provided to any
parties holding claims against the relevant affiliates,

3. Any party in interest wishing to obtain copies of the General Disclosure Statement, the Plans or the Specific
Disclosure Statements related thereto, the Solicitation Order or other information about the solicitation procedures,
or with questions about their ballot, or inquiries on obtaining a ballot, may request such information or materials by
contacting the Voting Agent (i) by first-class mail addressed to Tribune Company Ballot Processing Center, c/o Epig
Bankruptcy Solutions, LLC, FDR Station, PO Box 5014, New York, NY 10150-5014; (ii) by personal delivery or
overnight courier to Tribune Company Ballot Processing Center, c/o Epiq Bankruptcy Solutions, LLC, 757 Third
Avenue, Third Floor, New York, NY 10017; (iii) by email at tribunevote@epigsystems.com; or (iv) by telephone at
(888) 287-7568. Copies of the General Disclosure Statement, the Specific Disclosure Statements, the Plans and the
Solicitation Order, as well as additional information concerning the matters described in this notice, are also

available on the Internet free of charge at http://chapter | | epiqsystems,com/tribune.
Dated: December _, 2010
